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The Honorable Donald W. Molloy
United States District Judge
United States District Court
District of Montana

201 E. Broadway

Missoula, MT 59802

Dear Judge Molloy,

I’m writing on behalf of Matthew Marshall: the father of our two children, my best-friend, and the
steadfast strength to our family.

Matthew and | met in 2013 and over time became best friends. When he was separated from his
wife and | was coming out of a marriage our relationship gradually evolved into something
romantic. Although our situation was difficult and not ideal, | couldn't have asked for a better friend
and father to our little girls. The last few years, he has been our rock through the hardest of times.
He has been the one at the center of this case, the one that should be crumbling under the
pressure, yet he’s been the one holding it together for us telling me it’s going to be ok. Anxiety
isn't something I’ve ever experienced until the last couple of years living through the uncertainty
of this case and a global pandemic. Seeing his strength has been an inspiration to me. Not only
is he strong for me, but through it all he always manages to be joyous and engaging for our little
girls, Merrick and Sutton.

As a father, Matthew is incredible. He truly enjoys getting down on the same level as our girls and
immerses himself into their world. They sing Taylor Swift songs together, play make believe with
their dolls (the girls think it’s hysterical when he does the girl voices), ride bikes, sled, and so
much more. He’s not only a playmate and mentor to them, he's also very good at diplomatically
ending any of their disputes in a way that they understand. To some he may look menacing and
unapproachable, but to his daughters and myself he’s a big teddy bear that we can go to with
anything and feel safe. From the outside it’s almost impossible to know that he’s been dealing
with this since 2018 and been stuck in a different kind of mental imprisonment.

Our girls love to plan ahead. They already have their spring and summer planned out. As
potentially disappointing as their plans could turn out | do my best not to stifle their imaginations
and great ideas. They’ve come up with days at the lake getting swim lessons, camping trips,
mountain hikes, and they even have their outfits picked out for golf lessons they want their dad to
give them. Last year Matthew was one of Merrick’s soccer team’s coaches. This year both of our
girls can play so they're looking forward to having him on the field with them. They have their
birthdays planned out and enjoy having their family around them. Merrick’s birthday is on May
19th and she has high hopes that the weather will be nice and she can get her dad to go down
the slip and slide with her. Sutton’s birthday is March 4th and wants her dad to sing happy birthday
in his “opera voice”. Unfortunately, we have to accept that day will be solemn and the first day
we'll be learning to live with whatever sentence Matthew is given.
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Aside from time as a family I've been reflecting on the time I’ve known Matthew and I’ve come up
with a few examples that | think reflect his character:

As long as I’ve known him he's always been generous, especially with veterans, the homeless,
the sick, and children. I’ve never seen him pass by an opportunity to donate his time to a military
cause and how he always made sure the area veterans home had a plentiful supply of socks,
underwear, and t-shirts. The thing | admired the most is that there were plenty of people he could
have delegated those responsibilities to but he always did it on his own time.

He made sure a homeless family had a warm place to stay for a week during Christmas by paying
for a hotel room for them. He did this without any strings attached and also made sure they had
food and some money to buy extra groceries. I’ve seen him buy a homeless man a jacket and
gloves and I've seen him buy food to give to homeless people. |’m sure his kindness towards the
homeless extends beyond these examples I’ve given and personally witnessed.

His oldest daughter Maddy played soccer the first couple of years they lived here in Montana.
Matthew came to know the coach, Kelsey Timothy, a girl | went to high school with. He learned
that she had been battling a rare brain tumor. He helped her pay for her medical expenses and
got her in touch with other medical specialists to try in every way to help her beat the aggressive
tumor. Unfortunately, after fighting for years, she was told that she was terminal and there was
just nothing else her Doctors could do. She and her new husband Derek didn’t let the grim
prognosis destroy their hopes of still having a family. Matthew coordinated with some of the other
soccer coaches and planned a surprise wedding gift for them which was an all-expenses paid
honeymoon. They had never been able to go on a real vacation together and this seemed like a
perfect way to help keep their spirits alive. God answered their prayers and shortly after returning
from their honeymoon, against all odds, Kelsey was able to get pregnant. She eventually gave
birth to a beautiful baby boy and was able to spend 21 months with him before her passing at the
young age of 31.

Something else that | think is a great example of his commitment to his community is when his
daughter Maddy came home one day from school and told a story about some of the kids in her
class at school weren’t able to eat over the weekends because their families didn’t have enough
money to provide food. | remember him asking me if that seemed possible in a community like
Whitefish where there were so many wealthy people and resources. After talking to some of the
other parents he realized that there was in fact dozens of children who were in the same situation.
He proposed expanding the program in Whitefish and with the help of other parents, he and his
family helped jumpstart the program at our local schools to make sure every child had food to eat
while at school and also food to bring home on the weekends. He and other volunteers would go
shopping at local groceries every Thursday and then take the food back to the local schools and
distribute the food on Fridays. Not only did Matthew help set up the local Backpack Assistance
Program, he also made many donations, both financially and with his time to help keep it running
and growing. Last | knew it was serving several hundred local children of all ages in the Whitefish
school system.

His compassion and empathy for people and animals is one of the things | admire most about
him. | had an 11-year-old chocolate lab, Bosco, that unfortunately developed cancer in his older
years. After | would get Merrick to sleep | would sleep on the floor next to Bosco to comfort him.
During the day when | was too busy with Merrick, Matthew would come over and stay by Bosco’s
side. He spent many days and hours out in the snow with Bosco when he was too sick to want to
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come in the house. | remember often times looking out of the window watching this man, who
many assumed was insensitive laying outside in the snow, certainly cold and uncomfortable, to
show love and comfort for an animal. For me, that speaks volumes of the type of man and human
being he is.

Because | worked closely with Matthew at Amyntor Group | was able to attend many company
events from Shot Show, an event for sport shooting and hunting, to a book release of a former
employee. Something that struck me at these types of events was how all of the other attendees
and participants all made it a point to come up to him and shake his hand. They seemed to look
up to him and wanted to share memories they made with him. Matthew would always be humble
and kind in these situations. Although he seemed to enjoy seeing old comrades, he always liked
to find a quiet corner with just a few of his closest friends and catch up on their families and
children.

| believe Matthew to be one of the best people I’ve ever had the privilege of knowing. He is kind,
generous, fair, respectful, patient, and loyal. He offers so many positive attributes to the people
around him and his community that it’s impossible for me to sum it up in a single letter. | know his
fate is in the hands of the court and | can only hope that the totality of his life is considered. As
has been true since the moment | met him, his concern is not for himself, but for those around
him that he loves.

Lastly, | believe an extended sentence will serve as a tremendous emotional hardship for
Matthew’s daughters as well as an emotional and financial strain for me as a single mother. If

Matthew’s sentencing requires prison time the adverse effects on his daughters in their
developing years will be immense and devastating.

Thank you for your time and thoughtful consideration.

Respecttully, .

Keegan Bonnet

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